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                                                                        10/20/2020




                                                        October 19, 2020

       VIA ECF
       District Judge John P. Cronan
       United States District Court
       Southern District of New York
       500 Pearl Street, Room 1320
       New York, New York 10007

                           Re:   Altaune Brown v. Fordham Kids LLC et al.
                                 Index No.: 20-cv-00923____________________

       Dear Judge Cronan:

              This office represents the Defendant, Fordham Kids LLC (“Defendant”), in the above-
       referenced matter.

                We are pleased to report that the parties have reached an agreement in principle to resolve
       this matter for all parties to this action. As a result, the parties respectfully request that the initial
       pretrial conference scheduled for October 27, 2020 be adjourned and all deadlines held in abeyance
       sine die to enable the parties time to complete the necessary settlement paperwork and fully
       consummate the settlement, which the parties anticipate will take approximately 45 days.

              We thank Your Honor for all courtesies extended. Please do not hesitate to contact me
       with any questions.

                                                        Respectfully submitted,
                                                        Kaufman Dolowich & Voluck, LLP



                                                        Erika Rosenblum
                                                Defendant Fordham Kids LLC's request is GRANTED. The Initial Pretrial Conference
       cc: All counsel of record (via ECF) scheduled for October 27, 2020 at 4:00 p.m. is adjourned. All prior deadlines are held
                                                in abeyance sine die.
       4821-1188-0655, v. 1                     By October 26, 2020, the parties shall file a letter updating the Court on the status of
                                                Plaintiff's action against Defendant East Fordham DE LLC. By November 19, 2020,
                                                the parties shall file a letter updating the Court on the status of settlement.
                                                SO ORDERED.
                                                                                                 ___________________________
                                                Date: October 19, 2020                           JOHN P. CRONAN
                                                      New York, New York                         United States District Judge
